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                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                 DISTRICT OF VERMONT

UNITED STATES OF AMERICA,                      )
                                               )
                v.                             )              Case No. 2:25-cr-00015-cr-1
                                               )
TERESA YOUNGBLUT,                              )
     Defendant.                                )

   UNOPPOSED MOTION TO EXTEND DEADLINE FOR FILING MOTIONS AND
           TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

         NOW COMES Defendant, Teresa Youngblut, through counsel, and respectfully requests

that the Court extend the pretrial motions filing deadline to a date not less than ninety (90) days

from the filing of this motion. The defendant also requests that the Court order that the same

period be excluded from calculation under the Speedy Trial Act. This is the first motion to

continue the pre-trial motions deadline. The reasons for these requests are set forth below:

   I.       Background.

         On February 6, 2025, the defendant was indicted on one count of use of a deadly weapon

against an officer or employee of the United States in violation of 18 U.S.C. §§ 111(a)(1) and

111(b), and one count of discharging a firearm during a crime of violence in violation of 18

U.S.C. § 924(c)(1)(A)(iii). The arraignment was held on February 7, 2025, and pre-trial motions

were ordered to be filed by May 8, 2025. The defendant was detained and has remained in

custody since their arrest January 20, 2025.

   II.      Bases for the Request.

         The government has advised defense counsel that a supplemental discovery production is

forthcoming. Based on discussions with the government, the defense anticipates this discovery

production to be substantial. Also, the government has indicated that it is actively exploring
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additional charges.

       Additional time is needed to receive and review the newly anticipated discovery, and

review and discuss it with the defendant. Additional time is also needed to conduct any

necessary investigation and discuss with the government any potential non-trial resolutions in

this case. Finally, additional time is needed to determine whether additional charges will be filed

and whether such charges, if filed, will materially alter the trajectory of the case.

       Additional time to allow the defendant and counsel to receive and review discovery,

conduct investigation and conduct non-trial resolution discussions will inform defense counsel’s

strategic decision-making about the case, will inform counsel’s evaluation of potential pretrial

motions, and will inform counsel’s decisions regarding said discussions with the government.

       These factors all support a continuance under 18 U.S.C. §§ 3161(h)(7)(A) and

(h)(7)(B)(iv).

       The government, through Assistant United States Attorney Matthew Lasher, has no

objection to the requested extension of the motions deadline.

       The defendant consents to the exclusion of the time requested from the speedy trial limits

set forth in 18 U.S.C. § 3161. The defendant recognizes that any additional time granted will be

excluded from computation under the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A) and

(h)(7)(B)(iv).

       For the reasons stated above, this continuance is necessary, and the defendant submits

that without a continuance they would be deprived of the time necessary for effective

preparation, taking into account the exercise of due diligence.



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       WHEREFORE, the defendant respectfully requests that the Court grant the Defendant’s

Unopposed Motion to Extend Deadline for Filing Motions and to Exclude Time Under the

Speedy Trial Act, and that the Court set the new date for filing motions not sooner than ninety

(90) days from the filing of this motion. Finally, the defendant requests that the time between

the filing of this motion and the new deadline for the filing of pre-trial motions be excluded from

computation under the Speedy Trial Act.



Dated: May 8, 2025


                                             By:      /s/ Steven L. Barth
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